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Model Plan                                                                             Trustee:    Marshall          Meyer
11/22/2013                                                                                         Stearns           Vaughn
                                                                                                                 ✔
                                          UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF ILLINOIS

          In re:                                                     ) Case No. ____     26046
                                                                                 14 B _________
                                                                     )
                  Steven M Gilbert
________________________________________________,                    )
                                                                     )
                                     Debtors.                          □ Modified Chapter 13 Plan, dated ________
                                                                     ) Modified                           11/18/14

□
✔  A check in this box indicates that the plan contains special provisions, set out in Section G. Otherwise, the plan
includes no provisions deviating from the model plan adopted by the court at the time of the filing of this case.
Section A      1. As stated in the debtor's Schedule I and J, (a) the number of persons in the debtor's household is
               ________;
                    1
Budget
               (b) their ages are ___________________;
                                           Adult           (c) total household monthly income is $____________:
                                                                                                    5,949.00         and (d)
items
               total monthly household expenses are $ 3,849.00 , leaving $ 2,100.00        available monthly for plan pay-
               ments.
               2. The debtor's Schedule J includes $ ___________for
                                                      0.00           charitable contributions; the debtor represents that the
               debtor made substantially similar contributions for 0    months prior to filing this case.
Section B      1. The debtor assumes only the unexpired leases and executory contracts listed in Section G of this plan; all
               other unexpired leases and executory contracts are rejected. Both assumption and rejection are effective as
General
               of the date of plan confirmation.
items
               2. Claims secured by a mortgage on real property of the debtor, set out in Section C or in Paragraph 2 of Sec-
               tion E of this plan, shall be treated as follows:
               (a) Prepetition defaults. If the debtor pays the cure amount specified in Paragraph 5 of Section E, while
               timely making all required postpetition payments, the mortgage will be reinstated according to its original
               terms, extinguishing any right of the mortgagee to recover any amount alleged to have arisen prior to the fil-
               ing of the petition.
               (b) Costs of collection. Costs of collection, including attorneys’ fees, incurred by the holder after the filing
               of this bankruptcy case and before the final payment of the cure amount specified in Paragraph 5 of Section
               E may be added to that cure amount pursuant to order of the court on motion of the holder.

               3. The holder of any claim secured by a lien on property of the estate, other than a mortgage treated in Sec-
               tion C or in Paragraph 2 of Section E, shall retain the lien until the earlier of (a) payment of the underlying
               debt determined under nonbankruptcy law, or (b) discharge under 11 U.S.C. § 1328, at which time the lien
               shall terminate and be released by the creditor.

               4. The debtor shall retain records, including all receipts, of all charitable donations listed in Schedule J.

Section C      □ The debtor will make no direct payments to creditors holding prepetition claims. /or/
Direct         □ The debtor will make current monthly payments, as listed in the debtor’s Schedule J-increased or de-
               ✔
payment of     creased as necessary to reflect changes in variable interest rates, escrow requirements, collection costs, or
claims by      similar matters-directly to the following creditors holding claims secured by a mortgage on the debtor’s real
debtor         property:
                       Creditor: _______________________________________,
                                  FCI                                                  monthly payment, $ ________________;
                                                                                                           340.00
                       Creditor:  Ocwen                                              , monthly payment, $ 760.00             .
               If this box is   □
                                ✔ checked, additional direct mortgage payments are listed on the overflow page.




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Section D     1. Initial plan term. The debtor will pay to the trustee $_____________monthly
                                                                        2,100.00             for _______months
                                                                                                    60
               [and $___________monthly for an additional ______months], for total payments, during the initial plan
Payments
              term, of $ 126,000.00 . [Enter this amount on Line 1 of Section H.]
by debtor
to the        2. Adjustments to initial term. If the amount paid by the debtor to the trustee during the initial plan term does
trustee;      not permit payment of general unsecured claims as specified in Paragraphs 8 and 9 of Section E, then the
plan term     debtor shall make additional monthly payments, during the maximum plan term allowed by law, sufficient to
and           permit the specified payments.
comple-
tion
              3. Plan completion. □ The plan will conclude before the end of the initial term, as adjusted by Paragraph 2,
              only at such time as all allowed claims are paid in full, with any interest required by the plan /or/
              □✔ The plan will conclude before the end of the initial term at any time that the debtor pays to the trustee the
              full amounts specified in Paragraphs 1 and 2.

Section E     The trustee shall disburse payments received from the debtor under this plan as follows:
Disburse-
              1. Trustee's fees. Payable monthly, as authorized; estimated at ________%
                                                                                 5.1     of plan payments; and during the
ments by
              initial plan term, totaling $ 6,426.00   . [Enter this amount on Line 2a of Section H.]
the
trustee
              2. Current mortgage payments. Payable according to the terms of the mortgage, as set forth below, beginning
              with the first payment due after the filing of the case. Each of these payments shall be increased or de-
              creased by the trustee as necessary to reflect changes in variable interest rates, escrow requirements, or simi-
              lar matters; the trustee shall make the change in payments as soon as practicable after receipt of a notice of
              the change issued by the mortgage holder, but no later than 14 days after such receipt. The trustee shall no-
              tify the debtor of any such change at least 7 days before putting the change into effect. Any current mort-
              gage payment made by the debtor directly to the mortgagee shall be deducted from the amounts due to be
              paid by the trustee under this plan.

              (a) To creditor                                                      , monthly payments of $                .
              These payments, over the term of the plan, are estimated to total $ _________.
                                                                                   0.00

              (b) To creditor _________________________________________ , monthly payments of $ ________________.
              These payments, over the term of the plan, are estimated to total $ _________.
                                                                                  0.00

              If this box □ is checked, additional current mortgage payments are listed on the overflow page.
              The total of all current mortgage payments to be made by the trustee under the plan is estimated
              to be $ 0.00               . [Enter this amount on Line 2b of Section H.]

             3.1. Other claims secured by value in collateral. All secured claims, other than mortgage claims treated above
             and claims treated in Paragraph 3.2, are to be paid in full during the plan term, with interest at the annual
             percentage rates and in the fixed monthly amounts specified below regardless of contrary proofs of claim
             (subject to reduction with the consent of the creditor):

             (a) Creditor: City of Chicago Water Department             Collateral: 6512 S California Chicago, IL 60629
             Amount of secured claim: $____________
                                       1,061.28     APR ______%
                                                           0    Fixed monthly payment: $__________;
                                                                                        10.00
             Total estimated payments, including interest, on the claim: $ ________________
                                                                           1,061.28         □ Check if non-PMSI
                                                                                            ✔

             (b) Creditor: Cook County Treasurer                   Collateral: 15-10-432-035-0000
             Amount of secured claim:$ 7,978.86           APR ______%
                                                                0      Fixed monthly payment: $__________;
                                                                                                  133.00
             Total estimated payments, including interest, on the claim: $ ________________
                                                                           7,978.86         □ Check if non-PMSI
                                                                                            ✔



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Section E
              If this box □ is checked, additional secured claims are listed on the overflow page. [All claims in the debtor's
Disburse-     Schedule D, other than mortgages treated above and claims for which the collateral has no value, must be
ments by      listed in this paragraph.
the
trustee       The total of all payments on these secured claims, including interest, is estimated to be $_________________.
                                                                                                          108,634.54
              [Enter this amount on Line 2c of Section H.]

              3.2. Other secured claims treated as unsecured. The following claims are secured by collateral that either
              has no value or that is fully encumbered by liens with higher priority. No payment will be made on these
              claims on account of their secured status, but to the extent that the claims are allowed, they will be paid as
              unsecured claims, pursuant to Paragraphs 6 and 8 of this section.

              (a) Creditor:                                            Collateral:

              (b) Creditor:                                            Collateral:

              If this box □ is checked, additional claims covered by this paragraph are listed on the overflow page.

              4. Priority claims of debtor's attorney. Payable in amounts allowed by court order. The total claim of
              debtor’s attorney is estimated to be $_____________.[Enter
                                                     3,100.00              this amount on Line 2d of Section H.]

              5. Mortgage arrears. Payable as set forth below, regardless of contrary proofs of claim, except that the
              arrears payable may be reduced either with the consent of the mortgagee or by court order, entered on
              motion of the debtor with notice to the trustee and the mortgagee. Any such reduction shall be
              effective 14 days after either the trustee's receipt of a notice of reduction consented to by the mortgagee
              or the entry of a court order reducing the arrearage.

              (a) To creditor__________________________________________________________________ ,
               arrears of $ _________ payable monthly from available funds, pro rata with other mortgage arrears,
               □ without interest /or/ □ with interest at an annual percentage rate of ________%.
               ✔                                                                           0
               These arrearage payments, over the term of the plan, are estimated to total $ __________.

               (b) To creditor____________________________________________________________________ ,
               arrears of $ _________ payable monthly from available funds, pro rata with other mortgage arrears,
               □ without interest /or/ □ with interest at an annual percentage rate of ________%.
                These arrearage payments, over the term of the plan, are estimated to total $ __________.

               If this box □ is checked, additional mortgage arrearage payments are listed on the overflow page.
               The total of all mortgage arrearage payments to be made by the trustee under the plan is estimated
               to be $ 0.00               . [Enter this amount on Line 2e of Section H.]

              6. Allowed priority claims other than those of the debtor's attorney. Payable in full, without interest, on a pro
              rata basis. The total of all payments on non-attorney priority claims to be made by the trustee under the plan
              is estimated to be $ ________________________________. [Enter this amount on Line 2f of Section H.] Any
              claim for which the proof of claim asserts both secured and priority status, but which is not identified as se-
              cured in Paragraphs 2, 3.1, or 3.2 of this section, will be treated under this paragraph to the extent that the
              claim is allowed as a priority claim.

               7. Specially classified unsecured claim. A special class consisting of the following non-priority unsecured
               claim: shall be paid at ________% of the allowed amount. The total of all payments to this special class is
               estimated to be $____________________. [Enter this amount on Line 2g of Section H.] Reason for the special
               class: ________________________________________________________________________________________________________ .




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             8.General unsecured claims (GUCs). All allowed nonpriority unsecured claims, not specially classified, in-
             cluding unsecured deficiency claims under 11 U.S.C. § 506(a), shall be paid, pro rata, □ in full, /or / □✔ to the
             extent possible from the payments set out in Section D, but not less than ______10
                                                                                             _______ % of their allowed amount.
             [Enter minimum payment percentage on Line 4b of Section H.] Any claim for which the proof of claim
             asserts secured status, but which is not identified as secured in section C, or Paragraphs 2, 3.1, 3.2 or 5 of this
             section, will be treated under this paragraph to the extent that the claim is allowed without priority.

              9. Interest. □
                           ✔ Interest shall not be paid on unsecured claims /or / □ interest shall be paid on unsecured

              claims, including priority and specially classified claims, at an annual percentage rate of
              ___________%. [Complete Line 4d of Section H to reflect interest payable.]
Section F    The trustee shall pay the amounts specified in Section E of this Plan in the following order of priority, with
Priority     claims in a given level of priority reduced proportionately in the event of insufficient plan payments: (1)
             trustee’s fee; (2) current mortgage payments; (3) secured claims listed in Section E, Paragraph 3.1; (4) prior-
             ity claims of the debtor’s attorney; (5) mortgage arrears; (6) priority claims other than those of the debtor’s
             attorney; (7) specially classified non-priority unsecured claims; and (8) general unsecured claims.

Section G     Notwithstanding anything to the contrary set forth above, this Plan shall include the provisions set forth in
Special       the box following the signatures. The provisions will not be effective unless there is a check in the notice box
terms         preceding Section A.


Section H          (1) Total payments from the debtor to the Chapter 13 trustee                                      126,000.00
                                                                                                                  $__________
                       (subject to Paragraph 2 of Section D)
Summary
of                 (2) Estimated disbursements by the trustee for non-GUCs (gen-
payments               eral unsecured claims):
to and                      (a) Trustee’s Fees                                                   6,426.00
                                                                                             $__________
from the                    (b) Current mortgage payments                                            0.00
                                                                                             $__________
trustee                     (c) Payments of other allowed secured claims                       108,634.54
                                                                                             $__________
                            (d) Priority payments to debtor’s attorney                           3,100.00
                                                                                             $__________
                            (e) Payments of mortgage arrears                                         0.00
                                                                                             $__________
                            (f) Payments of non-attorney priority claims                             0.00
                                                                                             $__________
                            (g) Payments of specially classified unsecured claims            $       0.00

                            (h) Total [add Lines 2a through 2g]                                                    118,160.54
                                                                                                                 $__________

                   (3) Estimated payments available for GUCs and interest during                                      7,839.46
                                                                                                                  $__________
                       initial plan term [subtract Line 2h from Line 1]

                   (4) Estimated payments required after initial plan term:
                           (a) Estimated total GUCs, including unsecured defi-                 66,321.38
                                                                                            $__________
                               ciency claims under § 506(a)
                           (b) Minimum GUC payment percentage                                     10
                                                                                               ______%
                           (c) Estimated minimum GUC payment [multiply line 4a                  6,632.14
                                                                                            $__________
                               by line 4b]
                           (d) Estimated interest payments on unsecured claims              $__________
                           (e) Total of GUC and interest payments [add Lines 4c                  6,632.14
                                                                                            $__________
                               and 4d]
                           (f) Payments available during initial term [enter Line 3]            7,839.46
                                                                                            $__________
                           (g) Additional payments required [subtract Line 4f from                                $__________
                                                                                                                      -1,207.32
                               line 4e]




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                       (5) Additional payments available:
                              (a) Debtor’s monthly payment less trustee’s fees and cur-               1,992.90
                                                                                                    $__________
                                   rent mortgage payments made by the trustee
                                (b) Months in maximum plan term after initial term                           0
                                                                                                          ______
                                (c) Payments available [multiply line 5a by line 5b]                                       $__________
                                                                                                                             0.00

 Section I        A check in this box indicates that the debtor consents to immediate entry of an order directing the
                 debtor’s employer to deduct from the debtor’s wages the amount specified in Paragraph 1 of Section D and
 Payroll
                 to pay that amount to the trustee on the debtor’s behalf. If this is a joint case, details of the deductions from
 Control
                 each spouse’s wages are set out in Section G.
 Signatures      Debtor(s) [Sign only if not represented by an attorney]

                  ___________________________               ___________________________ Date _____________________
                                           Kristen Wasieleski                                                       7/15/14
                 Debtor’s Attorney/s/ _______________________________________ Date _____________________

 Attorney
                Robert J. Semrad & Associates
 Informa-       20 S. Clark 28th Floor
 tion           Chicago, IL 60603
 (name,         312.913.0625
 address,
 telephone,
 etc.)

                                            Special Terms [as provided in Section G]


1. Beginning with the March 2016 plan payment, City of Chicago Department of Water shall receive set payments in the amount of
$126.00 per month.

2. Beginning with the March 2016 plan payment, Cook County Treasurer (15-10-432-035-0000) shall receive set payments in the amount
of $126.00 per month.

3. Beginning with the March 2016 plan payment, Illinois Title Loan shall receive set payments in the amount of $126.00 per month.

4. Beginning with the March 2016 plan payment, Village of Maywood shall receive set payments in the amount of $126.00 per month.

5. Beginning with the March 2016 plan payment, Wells Fargo Home Mortgage shall receive set payments in the amount of $1,446.00 per
month.

6. Wells Fargo Home Mortgage shall receive pre-confirmation adequate protection payments in the amount of $216.00 per month.

7. The trustee shall not pay any unsecured claims that are not timely filed.

8. Notwithstanding any other provision on this plan, the Trustee is authorized to disburse monthly payments to creditors listed in Section E
(3) in an amount sufficient to pay interest as it accrues under the terms of the plan.

Well's Fargo Home Mortgage's claim against 3427 Madison Street Bellwood, IL 60104 is to be paid in full during the plan term at a
priority E3 of this Plan, with interest at an annual percentage rate specified below in the amounts stated regardless of contrary proofs of
claim, in monthly installments, with fixed monthly payments as specified below:

(a) Creditor: _Wells Fargo Home Mortgage_ 3427 Madison Street Bellwood, IL 60104
Amount of secured claim: $82,500.00 APR 5.25% Fixed monthly payment: $1,446.40.Total estimated payments, including interest, on the
claim: $89,347.00. The remainder of Bac Home Loans Servicing's claim shall be paid as an general unsecured creditor as listed in section
E8 of this plan and will be discharged upon a discharge order issued by the Court, at which time the lien shall be deemed released.

9. Debtor shall continue to pay escrow portion of monthly payment to Wells Fargo directly in the amount of $575.77 per month increased
or decreased as necessary to reflect changes in escrow requirements.
 5
10. Debtor(s) shall submit a copy of their tax return to the Trustee each year by June 30th. The debtor(s) shall tender to the trustee the
amount of any tax refund in excess of $1,200.00 each year within 7 days of receipt of the tax refund. Tax refunds must be received by June
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                                      Overflow Page [Attach only if necessary]
Section C     Creditor: _______________________________________, monthly payment, $ ________________;

Direct        Creditor: _______________________________________, monthly payment, $ ________________.
payment       Creditor: _______________________________________, monthly payment, $ ________________.
of claims
by debtor

Section E     2. Current mortgage payments.
              (c) To creditor__________________________________________, monthly payments of $________.
Disburse-     These payments, over the term of the plan, are estimated to total $ _________.
                                                                                  0.00
ments by      (d) To creditor__________________________________________, monthly payments of $________.
the           These payments, over the term of the plan, are estimated to total $ _________.
                                                                                  0.00
truste        (e) To creditor__________________________________________, monthly payments of $________.
              These payments, over the term of the plan, are estimated to total $ _________.
                                                                                  0.00

              3.1 Other claims secured by value in collateral.
              (c) Creditor: _______________________________
                              Illinois Title Loan                      Collateral: ________________________________
                                                                                    2003 Chevy Avalance
                    Amount of secured claim: $ ___________
                                                  3,000.00        APR ______%
                                                                          3.25     □ Fixed monthly payment: $__________;
                                                                                                                25.00
                    Total estimated payments, including interest, on the claim: $_________________. □ Check if non-PMSI
                                                                                 3,254.40               ✔
              (d) Creditor: _______________________________
                              Village of Maywood Water Dept.           Collateral: ________________________________
                                                                                    820 15th Ave Maywood, IL 60153
                    Amount of secured claim: $___________APR ______%
                                                  7,000.00                 0       □ Fixed monthly payment: $__________;
                                                                                                                 100.00
                    Total estimated payments, including interest, on the claim: $________________.
                                                                                 7,000.00              □ Check if non-PMSI
                                                                                                       ✔
              (e) Creditor: _______________________________
                              Wells Fargo Home Mortgage                Collateral: ________________________________
                                                                                    3427 Madison (15-09-321-075-0000)
                    Amount of secured claim: $____________APR
                                                  82,500.00             ______%
                                                                          5.25     □ Fixed monthly payment: $__________;
                                                                                                                 216.00
                    Total estimated payments, including interest, on the claim: $__________________.
                                                                                 89,340.00              □ Check if non-PMSI
                                                                                                        ✔

              (f) Creditor: _______________________________ Collateral: ________________________________
                    Amount of secured claim: $____________APR ______% □ Fixed monthly payment: $__________;
                    Total estimated payments, including interest, on the claim: $__________________. □ Check if non-PMSI

              3.2 Other secured claims treated as unsecured.
              (c) Creditor: _______________________________         Collateral: ________________________________
              (d) Creditor: _______________________________         Collateral: ________________________________
              (e) Creditor: _______________________________         Collateral: ________________________________
              (f) Creditor: _______________________________         Collateral: ________________________________

              5. Mortgage arrears.
              (c) To creditor___________________________________________________________________,
              arrears of $_____________, payable monthly from available funds, pro rata with other mortgage arrears,
              □ without interest /or/ □ with interest at an annual percentage rate of ________%.
              These arrearage payments, over the term of the plan, are estimated to total $____________.

              (d) To creditor___________________________________________________________________,
              arrears of $_____________, payable monthly from available funds, pro rata with other mortgage arrears,
              □ without interest /or/ □ with interest at an annual percentage rate of ________%.
              These arrearage payments, over the term of the plan, are estimated to total $____________.

              (e) To creditor___________________________________________________________________,
              arrears of $_____________, payable monthly from available funds, pro rata with other mortgage arrears,
               □ without interest /or/ □ with interest at an annual percentage rate of ________%.
              These arrearage payments, over the term of the plan, are estimated to total $____________.




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